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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

 LUKE ANDREW WILLIAMS f/k/a                     )
 LARBY AMIROUCHE,                               )
                                                )
                Petitioner-Defendant,           )
                                                )
        v.                                      )               Case No. 21-CR-00064-KAM
                                                )
 UNITED STATES OF AMERICA,                      )
                                                )
             Respondent-Plaintiff.              )
 ____________________________________

   PETITIONER'S MOTION FOR PRODUCTION OF GRAND JURY TRANSCRIPTS
    AND RELATED MATERIALS PURSUANT TO FEDERAL RULE OF CRIMINAL
                           PROCEDURE 6(e)

        Petitioner Luke Williams f/k/a Larby Amirouche, proceeding pro se, respectfully moves

 this Court for an order compelling the immediate production of grand jury transcripts and related

 materials pursuant to Federal Rule of Criminal Procedure 6(e). The requested materials are

 essential to Petitioner's ability to fully and fairly reply to the Government's response to his pending

 motion under 28 U.S.C. § 2255.

                                          BACKGROUND

        Petitioner filed a comprehensive § 2255 motion challenging his conviction and sentence

 on multiple grounds, including that the charges against him were time-barred by the applicable

 five-year statute of limitations. (ECF No. 73). In its response, the Government contends that

 Petitioner's statute of limitations argument fails because the charging documents allege a

 conspiracy that continued until April 2016, which the Government claims is the operative date for

 determining when the limitations period began to run. (ECF No. 85 at 23-24).

        However, the Government's position ignores the possibility that the April 2016 end date

 for the conspiracy may have been unilaterally added by the prosecutor, Assistant U.S. Attorney
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 David Pitluck, after the fact in an attempt to make the prosecution appear timely, and may not

 reflect the actual time period considered by the grand jury when it returned the indictment in this

 case.

         The original indictment, filed on February 3, 2021, charged Petitioner with offenses "in or

 about and between January 2012 and April 2016." (Indictment, ECF No. 1 at 1). Critically, the

 specific overt acts alleged in the indictment all occurred more than five years before the indictment

 was filed. (Id. at 5-12). As Petitioner noted in his § 2255 motion, "The original indictment alleged

 that Mr. Williams engaged in a conspiracy and other fraudulent activities 'in or about and between

 January 2012 and April 2016.' However, the specific overt acts mentioned all occurred more than

 five years before Mr. Williams' arrest on February 23, 2021." (ECF No.73 at 22).

         It is well-established that, for statute of limitations purposes in a conspiracy case, "the

 crucial question...is the scope of the conspiratorial agreement, for it is that which determines both

 the duration of the conspiracy, and whether the act relied on as an overt act may properly be

 regarded as in furtherance of the conspiracy." Grunewald v. United States, 353 U.S. 391, 397

 (1957). The Second Circuit has explained that "the statute of limitations in a conspiracy case runs

 from the date of the last overt act." United States v. Ben Zvi, 242 F.3d 89, 97 (2d Cir. 2001); see

 Brown v. Elliott, 225 U.S. 392, 401, 32 S.Ct. 812, 56 L.Ed. 1136 (1912).

         "For there to be a conspiracy charge that requires proof of overt acts to be within the statute

 of limitations, the (1) conspiracy must still have been ongoing within the five year period preceding

 the indictment, and (2) 'at least one overt act in furtherance of the conspiratorial agreement [must

 have been] performed within that period.'" United States v. Ben Zvi, 242 F.3d 89, 97 (2d Cir. 2001)

 (quoting Grunewald v. United States, 353 U.S. 391, 396-97 (1957)).




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        "The crucial question in determining whether the statute of limitations has run is the scope

 of the conspiratorial agreement, for it is that which determines both the duration of the conspiracy,

 and whether the act relied on as an overt act may properly be regarded as in furtherance of the

 conspiracy." Ben Zvi, 242 F.3d at 97 (quoting Grunewald, 353 U.S. at 397).

        Here, there are serious questions as to whether the April 2016 end date alleged in the

 indictment actually reflects the scope of the conspiratorial agreement found by the grand jury, or

 whether it was simply added by the prosecutor in an attempt to circumvent the expired limitations

 period. The answers to these questions likely lie in the grand jury transcripts and related materials,

 which Petitioner now seeks.

                                            ARGUMENT

     Petitioner is Entitled to the Grand Jury Materials Under Federal Rule of Criminal

                          Procedure 6(e) and Second Circuit Precedent

        Federal Rule of Criminal Procedure 6(e)(3)(E)(i) allows disclosure of grand jury matters

 "preliminarily to or in connection with a judicial proceeding." The Supreme Court has recognized

 that "disclosure is wholly proper where the ends of justice require it." United States v. Socony-

 Vacuum Oil Co., 310 U.S. 233- 234 (1940).

        The Second Circuit has established a three-part test for determining when grand jury

 materials should be disclosed: "(1) the material sought is needed to avoid a possible injustice, (2)

 the need for disclosure is greater than the need for continued secrecy, and (3) the request is

 structured to cover only material so needed." In re Grand Jury Subpoena, 103 F.3d 234, 239 (2d

 Cir. 1996). Petitioner satisfies each of these requirements.

        First, the grand jury materials are needed to avoid the possible injustice of Petitioner being

 convicted and sentenced based on time-barred charges. If the grand jury transcripts reveal that the

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 April 2016 end date was not actually part of the conspiracy charged by the grand jury, that would

 strongly support Petitioner's statute of limitations argument and demonstrate that his prosecution

 was untimely. Allowing a conviction to stand under such circumstances would be a clear injustice.

        "To support a motion for a judicially ordered disclosure of grand jury testimony, a party

 must show a 'particularized need' for the material. See United States v. Moten, 582 F.2d 654, 662

 (2d Cir. 1978). The request must amount to more than a request for authorization to engage in a

 fishing expedition. See id." In re Grand Jury Subpoena, 103 F.3d 234, 239 (2d Cir. 1996).

        "A party makes a showing of particularized need by proving 'that the material they seek is

 needed to avoid a possible injustice in another judicial proceeding, that the need for disclosure is

 greater than the need for continued secrecy, and that their request is structured to cover only

 material so needed.' Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211, 222, 99 S.Ct. 1667,

 1674, 60 L.Ed.2d 156 (1979) (citing Moten, 582 F.2d at 663)." In re Grand Jury Subpoena, 103

 F.3d 234, 239 (2d Cir. 1996).

        Second, Petitioner's need for disclosure outweighs any remaining need for grand jury

 secrecy. As the Second Circuit has recognized, "after the grand jury's functions are ended,

 disclosure is wholly proper where the ends of justice require it." United States v. Socony-Vacuum

 Oil Co., 310 U.S. 150, 234 (1940). Here, the grand jury proceedings have long since concluded,

 and the traditional reasons for secrecy, such as preventing flight by those who may be indicted and

 protecting active investigations, no longer apply. See Douglas Oil Co. of Cal. v. Petrol Stops Nw.,

 441 U.S. 211, 219 (1979).

        "Several circumstances diminish the need for secrecy in this case. First, the grand jury has

 concluded its investigation. Thus, release of the materials will not interfere with or delay the grand

 jury's deliberations. Second, the targets and witnesses have already been identified and presumably

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 know the information that they provided to the grand jury. Finally, the material will be released to

 government attorneys under the confidentiality provisions of Rule 6(e)(3)(B). Under these

 circumstances, the need for secrecy is minimal and does not outweigh the government's need for

 disclosure." In re Grand Jury Subpoena, 103 F.3d 234, 241 (2d Cir. 1996).

           Third, Petitioner's request is narrowly tailored to cover only the material needed to address

 the statute of limitations issue. He seeks only those portions of the grand jury transcripts and related

 materials that bear on the actual scope of the charged conspiracy and the discrepancy between the

 overt acts and end date alleged in the indictment.

    The Government's Own Filings and Statements Support Disclosure of the Grand Jury

                                                Materials

           The Government's response to Petitioner's § 2255 motion actually underscores the need for

 disclosure of the grand jury materials. In arguing that the prosecution was timely, the Government

 relies heavily on the April 2016 end date alleged in the indictment, asserting that "both charging

 instruments allege a conspiracy that continued until April 2016, which meant that Amirouche, who

 was indicted in February 2021, was plainly charged inside of the limitations period." (ECF No. 85

 at 23).

           "[A] vital distinction must be made between acts of concealment done in furtherance of the

 main criminal objectives of the conspiracy, and acts of concealment done after these central

 objectives have been attained, for the purpose only of covering up after the crime." Grunewald,

 353 U.S. at 405.

           The Grunewald quote incisively encapsulates the critical differentiation between acts of

 concealment carried out in furtherance of an ongoing conspiracy and those performed merely to

 cover up a completed crime. It sets the indispensable foundation for Petitioner's compelling

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 argument that the grand jury transcripts are absolutely necessary to determine on which side of

 this vital line the alleged acts fall.

         However, the Government fails to address the critical question of whether the April 2016

 date actually reflects the grand jury's findings or was simply added by the prosecutor. The grand

 jury transcripts are necessary to resolve this issue. If the transcripts show that the grand jury did

 not actually charge a conspiracy extending to April 2016, then the Government's statute of

 limitations argument collapses.

         Moreover, statements by the prosecutor himself suggest that the April 2016 date may have

 been added after the fact. During the plea hearing, Assistant U.S. Attorney David Pitluck

 acknowledged that the Government was having difficulty securing loss affidavits from the alleged

 victim banks, stating: "Your Honor, we don't have an estimated restitution amount at this point

 because the victims in this case, the banks, have not provided loss affidavits." (Plea Tr. at 20). He

 further noted: "It's just a matter of whether the banks will assert claims to those losses." (Id. at 21).

         In fact, there is no possibility for the banks to provide loss affidavits because there was no

 bank loss. This was a misrepresentation made to the Court. There were no victim banks, bank

 losses, intended bank losses or written off bank losses at any point during the entire period of the

 indictment. The Payment Processors earned approximately $1 million over the period of the

 indictment as documented in the 2255 petition.

         The Grand Jury Transcripts will show that the defendant was not directing co-conspirators

 to interact with financial institutions as outlined in the overt acts of both the indictment and

 superseding information. The co-conspirators were interacting with payment processors and

 payment gateways. Ascertaining the grand jury transcripts will show that the plea lacks a factual




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 basis and there are no victim banks, further underscoring the point that the overt actions alleged in

 the indictment and superseding information were intentionally miscategorized.

        "[A] guilty plea is constitutionally valid only to the extent it is 'voluntary' and 'intelligent.'"

 Bousley v. United States, 523 U.S. 614, 618 (1998) (quoting Brady v. United States, 397 U.S. 742,

 748 (1970)). "Moreover, because a guilty plea is an admission of all the elements of a formal

 criminal charge, it cannot be truly voluntary unless the defendant possesses an understanding of

 the law in relation to the facts." McCarthy v. United States, 394 U.S. 459, 466 (1969).

        These statements raise serious questions about the strength of the Government's evidence

 and the scope of the charged conspiracy. If the banks were unable or unwilling to provide loss

 affidavits, that suggests that the alleged fraudulent conduct may have ended much earlier than

 April 2016. The grand jury transcripts may shed light on this issue and are therefore critical to

 Petitioner's statute of limitations argument.

  The Court Should Order the Government to Produce the Charging Window Voted on by

                                            the Grand Jury

        In addition to ordering the production of the grand jury transcripts and related materials,

 Petitioner respectfully requests that the Court direct the Government to immediately provide the

 charging window that was actually voted on by the grand jury. This information can be easily and

 quickly provided by the Government and will help clarify the statute of limitations issue.

        If the charging window voted on by the grand jury does not extend to April 2016, that

 would be strong evidence that the prosecution was time-barred and that the later end date was

 unilaterally added by the prosecutor.

        "[W]e have before us a typical example of a situation where the Government, faced by the

 bar of the three-year statute, is attempting to open the very floodgates against which Krulewitch

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 warned. We cannot accede to the proposition that the duration of a conspiracy can be indefinitely

 lengthened merely because the conspiracy is kept a secret, and merely because the conspirators

 take steps to bury their traces, in order to avoid detection and punishment after the central criminal

 purpose has been accomplished." Grunewald, 353 U.S. at 405.

        The Grunewald excerpt perfectly encapsulates the exact type of prosecutorial overreach

 and abuse that Petitioner is valiantly seeking to prevent by obtaining the grand jury materials. It

 will indelibly impress upon the Court the momentous stakes involved and the urgent necessity for

 judicial intervention to safeguard the fairness and integrity of the proceedings.

        Such a revelation would support Petitioner's request for the full grand jury transcripts and

 would bolster his statute of limitations argument.

        The Court has the inherent authority to order the production of this information in the

 interests of justice and to ensure the fairness and integrity of these proceedings. See United States

 v. Hasting, 461 U.S. 499, 505 (1983) ("Guided by considerations of justice, and in the exercise of

 supervisory powers, federal courts may, within limits, formulate procedural rules not specifically

 required by the Constitution or the Congress.").

        "Supervisory power to reverse a conviction is not needed as a remedy when the error to

 which it is addressed is harmless since, by definition, the conviction would have been obtained

 notwithstanding the asserted error. Further, in this context, the integrity of the process carries less

 weight, for it is the essence of the harmless-error doctrine that a judgment may stand only when

 there is no 'reasonable possibility that the [practice] complained of might have contributed to the

 conviction.'" Hasting, 461 U.S. at 506 (quoting Fahy v. Connecticut, 375 U.S. 85, 86-87 (1963)).

        This principle has direct and powerful application here. If, as Petitioner contends, the grand

 jury transcripts reveal that the April 2016 end date was not actually part of the conspiracy charged

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 by the grand jury, that would demonstrate a reasonable possibility that the untimely prosecution

 contributed to Petitioner's conviction, gravely undermining the integrity of the process. Disclosure

 is therefore not only appropriate, but necessary as a valid exercise of the Court's supervisory power.

                                           CONCLUSION

        For the foregoing reasons, Petitioner respectfully requests that the Court order the

 Government to immediately produce the requested grand jury transcripts and related materials

 pursuant to Federal Rule of Criminal Procedure 6(e) and applicable Second Circuit precedent.

 These materials are essential to Petitioner's ability to fully and fairly litigate his § 2255 motion and

 to respond to the Government's statute of limitations arguments.

        Petitioner further requests that the Court direct the Government to promptly provide the

 charging window that was actually voted on by the grand jury, as this information will help clarify

 the statute of limitations issue and can be easily produced without delay.

        Finally, Petitioner asks that the Court take notice of this motion and the serious questions

 it raises about the timeliness of the prosecution when considering his pending § 2255 motion.


 Dated: July 12, 2024 (Thomson, IL)

 Respectfully Submitted,



 ____________________________________
 /s/ Luke Andrew Williams
 Luke Andrew Williams f/k/a Larby Amirouche
 Pro Se Petitioner
 Thomson Prison Camp




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